Debtor(s):                 Kenneth Barber, Jr                                                         Case Number:      18-51245
                           Monique Kafaye Barber

United States Bankruptcy Court for the WESTERN DISTRICT OF LOUISIANA

Chapter 13 Plan – Western District of Louisiana                                               FIRST AMENDED

      Check here if this is a modified plan.

      Check here if this is an amended plan.

       List below the sections that have been changed.                                              Reason for Amendment/Modification
       2.1, 3.1, 3.2, 4.3, and 8                                                             Extended Plan Payments to 60 months
                                                                                             Wells Fargo: Corrected monthly payment amount.
                                                                                             Amended Pre-Petition and Post-Petition Arrears
                                                                                             Capital One: Amended Secured Value and Interest
                                                                                             Rate. Added Adequate Protection Payments
                                                                                             IRS: Added Tax Debt



Part 1:        Notices

To Debtors:            This form sets out options that may be appropriate in some cases, but the presence of an option on the form does not
                       indicate that the option is appropriate in your circumstances or that it is permissible in your judicial division. Plans that
                       do not comply with local rules and judicial rulings may not be confirmable.

                       In the following notice to creditors, you must check each box that applies.

To Creditors:          Your rights may be affected by this plan. Your claim may be reduced, modified, or eliminated.

                       You should read this plan carefully and discuss it with your attorney if you have one in this bankruptcy case. If you do not have
                       an attorney, you may wish to consult one.

                       If you oppose the plan’s treatment of your claim or any provision of this plan, you or your attorney must file an objection to
                       confirmation at least 7 days before the date set for the hearing on confirmation, unless otherwise ordered by the Bankruptcy
                       Court. The Bankruptcy Court may confirm this plan without further notice if no objection to confirmation is filed. See
                       Bankruptcy Rule 3015. In addition, you may need to file a timely proof of claim in order to be paid under any plan.

                       The following matters may be of particular importance. Debtors must check one box on each line to state whether or not the
                       plan includes each of the following items. If an item is checked as “Not Included” or if both boxes are checked, the provision
                       will be ineffective if set out later in the plan.

1.1       The plan sets out Nonstandard Provisions in Part 9.                                               Included                 Not Included
1.2       This Plan limits the amount of Secured Claims in 3.1 and/or 3.2 based on a Valuation              Included                 Not Included
          of the Collateral for the claim.
1.3       This Plan avoids a Security Interest or Lien in Section 3.4.                                      Included                 Not Included
1.4       This Plan cures or maintains a loan secured by the Debtor's Principal Residence in                Included                 Not Included
          3.1.
1.5       This Plan provides for the treatment of a Domestic Support Obligation in 4.3 and/or               Included                 Not Included
          4.4.
1.6       This plan includes a claim that was either: (1) incurred within 910 days before the               Included                 Not Included
          petition date and secured by a purchase money security interest in a motor vehicle
          acquired for the personal use of the debtor(s); or (2) incurred within 1 year of the
          petition date and secured by a purchase money security interest in any other thing of
          value in 3.3.

Part 2:        Plan Payments and Length of Plan

2.1 Debtor(s) will make regular payments for a total of 60 months to the trustee as follows:

      If fewer than 60 months of payments are specified, additional monthly payments will be made to the extent necessary to make the payments to
      creditors specified in this plan.


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        Original Plans.
     $2,800.00 per month for 20 months, and
     $2,900.00 per month for 40 months.

          Modified Plans.


        Check one: The applicable commitment period is: 36 months (Below Median Income)
                                                        60 months (Above Median Income)

2.2 Regular payments to the trustee will be made from future income in the following manner:

           Debtor(s) will make payments pursuant to a payroll deduction unless otherwise excused by the Chapter 13 Trustee or the Bankruptcy
           Court.

     Income tax refunds. During the pendency of this case debtor(s) shall file both Federal and State Income Tax Returns timely and provide copies
     of same to the Standing Chapter 13 Trustee immediately upon filing of each annual return.

     Debtor(s) will pledge income tax refunds as follows:

      2018, 2019, 2020

2.3 Additional Payments. (In addition to 2.1 above)
    Check one.

                  None. If “none” is checked, the rest of § 2.3 need not be completed or reproduced.

Part 3:        Treatment of Secured Claims

3.1 A. Maintenance of payments and cure of default of Principal Residence under 1322(b)(3), including post-petition default payments, if
     any

     Check one.

                  None. If "None" is checked, the rest of § 3.1 need not be completed or reproduced.

                  The debtor(s) will maintain the current contractual installment payments on the secured claims listed below, with any changes
                  required by the applicable contract and noticed in conformity with any applicable rules. These payments will be disbursed either by
                  the trustee or directly by the debtor, as specified below. Any existing arrearage on a listed claim will be paid in full through
                  disbursements by the trustee, with interest, if any, at the rate stated. Unless otherwise ordered by the court, the amounts listed on a
                  proof of claim filed before the filing deadline under Bankruptcy Rule 3002(c) control over any contrary amounts listed below as to
                  the current installment payment and arrearage. In the absence of a contrary timely filed proof of claim, the amounts stated below are
                  controlling. If relief from the automatic stay is ordered as to any item of collateral listed in this paragraph, then, unless otherwise
                  ordered by the court, all payments under this paragraph as to that collateral will cease, and all secured claims based on that collateral
                  will no longer be treated by the plan.

      Name of Creditor                  Description of Collateral         Current Installment               Pre-Petition Amount         Current Monthly
                                                                          Payment (including                of Arrearage, if any        Payment Begins
                                                                          escrow)
      Wells Fargo Home                  209 Kingswood Drive                              $1,242.14                    $29,821.33        December 2018
      Mortgage                          Lafayette, LA 70501
                                        Lafayette County
                                                                          Disbursed by:
                                                                             Trustee
                                                                             Debtor(s)
                                                                             Third party – Name & Relationship to Debtor(s)


                 The trustee shall pay post-petition default payments for mortgage payments in the following amounts and coming due during the
     months itemized.

      Name of Creditor                  Description of Collateral        Current Installment                Specified Months for        Post Petition
                                                                         Payment (including                 Default                     total Unpaid
                                                                         escrow)
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      Name of Creditor                  Description of Collateral            Current Installment            Specified Months for         Post Petition
                                                                             Payment (including             Default                      total Unpaid
                                                                             escrow)
      Wells Fargo Home                  209 Kingswood Drive                                 $1,242.14             October and                    $2,484.28
      Mortgage                          Lafayette, LA 70501                                                     November 2018
                                        Lafayette County

     B. Maintenance of payments and cure of default other than Principal Residence under 1322(b)(3), including post-petition default
        payments, if any.

     Check one.

                  None. If "None" is checked, the rest of § 3.1 need not be completed or reproduced.

3.2 Request for valuation of security, payment of fully secured claims, and modification of undersecured claims

     Check one.

                  None. If "None" is checked, the rest of § 3.2 need not be completed or reproduced.

     The remainder of this paragraph will be effective only in the applicable box in Part 1 of this plan is checked.

                  The debtor(s) request that the court determine the value of the secured claims listed below. For each non-governmental secured claim
                  listed below, the debtor(s) state that the value of the secured claim should be as set out in the column headed Amount of secured
                  claim. For secured claims of governmental units, unless otherwise ordered by the court, the value of a secured claim listed in a proof
                  of claim filed in accordance with the Bankruptcy Rules controls over any contrary amount listed below. For each listed claim, the
                  value of the secured claim will be paid in full with interest at the rate stated below. If relief from the automatic stay is ordered as to
                  any item of collateral listed in this paragraph, then, unless otherwise ordered by the court, all payments under this paragraph as to
                  that collateral will cease, and all secured claims based on that collateral will no longer be treated by the plan.

                  The portion of any allowed claim that exceeds the amount of the secured claim will be treated as an unsecured claim under Part 5 of
                  this plan. If the amount of a creditor’s secured claim is listed below as having no value, the creditor’s allowed claim will be treated in
                  its entirety as an unsecured claim under Part 5 of this plan. Unless otherwise ordered by the court, the amount of the creditor’s total
                  claim listed on the proof of claim controls over any contrary amounts listed in this paragraph.

                  The holder of any claim listed below as having value in the column headed Amount of secured claim will retain the lien on the
                  property interest of the debtor(s) or the estate(s) until the earlier of:

                  (a) payment of the underlying debt determined under nonbankruptcy law, or (b) discharge of the underlying debt under 11 U.S.C. §
                  1328, at which time the lien will terminate and be released by the creditor. See Bankruptcy Rule 3015.

      Name of Creditor             Estimated                Collateral Description   Value of        Amount of            Interest      Estimated avg.
                                   Amount of                                         Collateral      Secured Claim        Rate          monthly payment
                                   Creditor's total                                                                                     to creditor
                                   Claim
      Capital One                  $11,907.21               2010 GMC Yukon           $11,907.21           $11,907.21       7%                      Pro Rata
      Auto Finance                                          212109 miles
                                                            Location: 209
                                                            Kingswood Drive,
                                                            Lafayette LA 70501

3.3 Secured claims excluded from 11 U.S.C. § 506. (11 U.S.C. §1325(a) - 910 day Car Claim or 365 day Personal Property)

     Check one.

                  None. If "None" is checked, the rest of § 3.3 need not be completed or reproduced.




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3.4 Lien avoidance

     Check one.

                  None. If "None" is checked, the rest of § 3.4 need not be completed or reproduced.



3.5 Surrender of Collateral

     Check one.

                  None. If "None" is checked, the rest of § 3.5 need not be completed or reproduced.

Part 4:        Treatment of Fees and Priority Claims

4.1 General

     Trustee’s fees and all allowed priority claims, including domestic support obligations other than those treated in § 4.4, will be paid in full
     without post-petition interest.

4.2 Administrative fees

      Counsel elects the standing order “no look” fee                Yes                     No

     Trustee’s fees are governed by statute and may change during the course of the case but are estimated to be ten percent of plan payments.

     The debtor(s) attorney is awarded a fee in the amount of $ 3,600.00 of which $ 3,290.00 is due and payable from the bankruptcy
     estate. Included in this amount is a fee in the amount of $ 0 for the modification. Fees are limited to the appropriate “No Look” fee amount
     or the allowed amount subject to a formal fee application.

4.3 Priority claims other than attorney’s fees and those treated in § 4.4.

     Check one.

                  None. If "None" is checked, the rest of § 4.3 need not be completed or reproduced.



                  The debtor estimates the total amount of other priority claims to be as follows:.



Domestic Support Obligations prepetition arrears other than those provided for in 4.4 below shall be disbursed by the Trustee:
    Claimant                                     Nature of Claim                                             Amount
    -NONE-

     Ongoing Domestic Support Obligations shall be disbursed by debtor.

     All other unsecured priority claims including tax claims shall be disbursed by the trustee as follows:
     Claimant                                     Nature of Claim                                                Amount
     IRS                                                                                                                                     $23,000.00

4.4 Domestic Support Obligations assigned or owed to a governmental unit and paid less than full amount

     Check one.

                   None. If "None" is checked, the rest of § 4.4 need not be completed or reproduced.




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Part 5:        Treatment of Non-priority Unsecured Claims

5.1 Nonpriority unsecured claims not separately classified.

     Allowed nonpriority unsecured claims that are not separately classified will be paid, pro rata. Unscheduled nonpriority unsecured debts to which
     a timely proof of claim is filed will be allowed, unless objected to. All non-priority debts on schedule E/F, and unsecured and undersecured
     debts on schedule D, are incorporated herein by reference.

     Based upon the scheduled unsecured and undersecured claims in the amount of $6,182.83, it is anticipated unsecured creditors will be paid
     approximately $6,182.83, which is approximately 100.00 percent of their respective claims. However, the amount paid on any claim may vary
     depending on the actual filed and allowed claims.

     If the estate of the debtor(s) were liquidated under chapter 7, nonpriority unsecured claims would be paid no less than $0.00. Regardless of the
     options checked above, payments on allowed nonpriority unsecured claims will be made in at least this amount.

5.2 Other separately classified nonpriority unsecured claims.

     Check one.

                 None. If "None" is checked, the rest of § 5.2 need not be completed or reproduced.


Part 6:        Executory Contracts, Unexpired Leases, and Unmodified Secured Debts paid per contract

6.1 The executory contracts, unexpired leases, and Unmodified Secured Debts paid per contract listed here are assumed and will be treated
    as specified. All other executory contracts and unexpired leases are rejected.

     Check one.

                None. If "None" is checked, the rest of § 6.1 need not be completed or reproduced.
                Assumed items or Direct Pay Unmodified Secured Debts. Current installment payments will be disbursed either by the trustee or
                directly by the debtor, as specified below, subject to any contrary court order or rule. Arrearage payments will be disbursed by the
                trustee.

      Name of Creditor                    Property Description                Current Installment            Amount of           Number of
                                                                              Payment                        Arrearages to       Installments
                                                                                                             be paid, if any     Remaining
      401 K Plan                          401k: Retirement                                      $131.82              $0.00       20
                                          w/employer
                                                                              Disbursed by:
                                                                                 Trustee
                                                                                 Debtor(s)
                                                                                 Third party – Name & Relationship to Debtor(s)


Part 7:        Vesting of Property of the Estate

7.1 Property of the estate will vest in the debtor(s) upon entry of discharge or dismissal.

Part 8:        Other Plan Provisions

8.1 Adequate Protection Payments:

     Debtor(s) shall pay adequate protections payments and/or lease payments as scheduled below to the trustee. If the case is dismissed
     pre-confirmation the trustee shall disburse these adequate protection payments to the creditor, one for each plan payment received
     while the case was pending.

      Creditor                                                                          Adequate Protection Payment
      Capital One Auto Finance                                                          $100.00




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8.2 Changed Circumstances.

     Debtor(s) shall fully and timely disclose to the trustee any change in income, marital status, domestic support obligation, employment,
     address, or financial recovery to which debtor(s) become entitled, including without limitation, claims for personal injury, employment,
     worker’s compensation, unemployment compensation, inheritance, life insurance, lottery proceeds, or property settlements. These
     funds shall be treated upon motion by trustee, debtor(s), or any party in interest.

Part 9:        Nonstandard Plan Provisions

          None. If "None" is checked, the rest of Part 9 need not be completed or reproduced.

     Under Bankruptcy Rule 3015(c), nonstandard provisions must be set forth below. A nonstandard provision is a provision not otherwise included
     in the Official Chapter 13 Plan Form for the Western District of Louisiana or deviating from it. Nonstandard provisions set out elsewhere in this
     plan are ineffective.

     The following plan provisions will be effective only if there is a check in the box “Included” in § 1.1.

With regards to Sections 3.2, 3.3, 4.4, 5.2, and 6.1, in instances where the value/ secured amount listed on the creditor's
proof of claim is less than the amount listed in the Plan, the trustee shall pay the lesser amount. With regards to Section 3.2,
in instances where the claim amount is less than the value of the collateral, the trustee shall pay the lesser amount.

The Attorney Fee in Section 4.2 of this Plan is based upon the Judges Standing Order regarding "No Look Fees" signed on
1/13/2017. It includes the balance of the standard pre-confirmation fee of $3,000.00 plus an additional $600.00, to be paid
during the last 6 months of the Plan, if in accordance with Sec. (3)(B) of the Standing Order.

In addition to the "No Look Fee", trustee shall compensate attorney an additional $250.00 for costs and postage associated
with noticing out the original plan per Standing Order of 12/1/2017, Adopting Mandatory Form Chapter 13 Plan. This Fee
shall be paid as part of the administrative expenses.


Part 10:           Signatures

/s/ Lisa W. Thomas                                                          Date:      December 17, 2018
Lisa W. Thomas 27891
Signature of Attorney for Debtor(s)


Signature(s) of Debtor(s) (required if not represented by an attorney; otherwise optional)

By filing this document, the Attorney for Debtor(s) or Debtor(s) themselves, if not represented by an attorney, also certify(ies) that the
wording and order of the provisions in this Chapter 13 Plan are identical to those contained in Official Chapter 13 Plan Form for the
Western District of Louisiana, other than any nonstandard provisions included in Part 9.




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